 2:24-cv-07479-RMG   Date Filed 06/09/25     Entry Number 66        Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA
                       CHARLESTON DIVISION


IN RE: AQUEOUS FILM-FORMING                MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY
LITIGATION                                  This Document Relates to:

                               City of Columbia v. 3M Co.,
                               Case No. 2:24-cv-03794-RMG;

                               City of Muscle Shoals, Ala. v. 3M Co.,
                               Case No. 2:24-cv-07479-RMG;

                               Colbert Cnty., Ala. v. 3M Co.,
                               Case No. 2:24-cv-07480-RMG;

                               Town of Cheraw v. 3M Co.,
                               Case No. 2:25-cv-00679-RMG;

                               City of Georgetown v. 3M Co.,
                               Case No. 2:25-cv-00680-RMG;

                               Georgetown Cnty. Water & Sewer Dist. v. 3M Co.,
                               Case No. 2:25-cv-00681-RMG;

                               Joint Municipal Water & Sewer Comm’n v. 3M Co.,
                               Case No. 2:25-cv-00711-RMG;

                               Saluda Cnty. Water & Sewer Auth. v. 3M Co.,
                               Case No. 2:25-cv-00810-RMG;

                               Town of Whitmire v. 3M Co.,
                               Case No. 2:25-cv-00811-RMG;

                               Town of Lexington v. 3M Co.,
                               Case No. 2:25-cv-00827-RMG;

                               Berkeley Cnty. v. 3M Co.,
                               Case No. 2:25-cv-00825-RMG
   2:24-cv-07479-RMG           Date Filed 06/09/25         Entry Number 66           Page 2 of 3




                           AGREED BRIEFING SCHEDULE ON
                          PLAINTIFFS’ MOTIONS FOR REMAND

       Pursuant to the Court’s Order of April 30, 2025 (ECF #7064), Plaintiffs in the above-

referenced actions and Defendant 3M Company (“3M”) submit the following agreed briefing

schedule on Plaintiffs’ pending Motions to Remand (ECF #6919, 6959, 6961, 6962, 6964, 6969,

6970, 6978, 6987, and 6998).

       1.     With respect to the pending Motion to Remand filed by Plaintiffs City of Muscle
              Shoals and Colbert County, Alabama (ECF #6919):

              a.      By no later than 14 days from the entry of an Order granting the Parties’
                      Agreed Briefing Schedule, Plaintiffs shall file an amended Motion to
                      Remand solely to include additional argument regarding any precedent that
                      was entered after the date on which Plaintiffs’ Motion to Remand was filed
                      and which Plaintiffs contend to be relevant.

              b.      By no later than 30 days from the filing of Plaintiffs’ amended Motion to
                      Remand, 3M shall file one brief of up to 35 pages in opposition to Plaintiffs’
                      amended Motion to Remand.

              c.      By no later than 14 days from the filing of 3M’s opposition brief, Plaintiffs
                      shall file one brief of up to 15 pages in reply to 3M’s opposition to Plaintiffs’
                      amended Motion to Remand.

       2.     With respect to the remaining Plaintiffs’ pending Motions to Remand (ECF
              #6959, 6961, 6962, 6964, 6969, 6970, 6978, 6987, and 6998):

              a.      By no later than 30 days from the Entry of an Order granting the Parties’
                      Agreed Briefing Schedule, 3M shall file one consolidated brief of up to 40
                      pages in opposition to Plaintiffs’ pending Motions for Remand.

              b.      Plaintiffs shall file one consolidated brief of up to 20 pages in reply to
                      3M’s opposition to Plaintiffs’ motions

       By entering into this joint stipulation, neither Plaintiffs nor Defendant concede any rights,

or waive any arguments.




                                                 2
   2:24-cv-07479-RMG           Date Filed 06/09/25         Entry Number 66       Page 3 of 3




Dated: June 9, 2025                                    Respectfully submitted,


/s/ Jeffrey E. Friedman                                /s/ Michael A. Olsen

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